Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 1 of 11




                    EXHIBIT A
        Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 2 of 11



From:             Rapp, Kevin (USAAZ)
To:               Paul Cambria; Tom Bienert; Grant, James; Gary S. Lincenberg; Ariel A. Neuman; Michael Kimerer; Feder Law;
                  Bruce Feder; Michael Piccarreta; sweisskarpweiss.com
Cc:              Jones, Reginald (CRM); Perimeter Margaret (USAAZ); Kozinets, Peter (USAAZ); Stone, Andrew (USAAZ)
Subject:         Doc. 449
Date:            Thursday, January 31, 2019 6:03:56 PM
Attachments:     Doc. 449 Order Governments Motion to Compel (Doc. 352).pdf
                 39 inadvertently disclosed documents ordered destroyed.pdf
                 Letter re confirming destruction of docs.door




Counsel:


As you the know the Court has granted the Government's Motion to Destroy Inadvertently Disclosed
Material. (See Doc. 449 attached) The Order requires that the subject documents should be
destroyed within five days of the Order (we just received it today in the mail as it was sealed).
Attached is a list identifying the 39 documents that must be destroyed. Lastly, we have attached a
letter that confirms that you have complied with the Order. We would like to file a notice advising
the Court of compliance. If you have any questions please do not hesitate to contact me.


All the best,


Kevin M. Rapp' Assistant U.S. Attorney
Senior Litigation Counsel
Financial Crimes and Public Integrity Section
U.S. Department of Justice I Office of the United States Attorney
40 N. Central Ave., Ste. 1800, Phoenix, AZ 85004
602.514.7609, kevin.rapp@usdoj.gov
Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 3 of 11




                    EXHIBIT B
  Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 4 of 11




1) D0J-BP-0004570792
2) D0J-BP-0004570819
3) D0J-BP-0004571598
4) D0J-BP-0004572533
5) D0J-BP-0004572535
6) DOJ-BP-0004572557
7) D0J-BP-0004572563
8) D0J-BP-0004572576
9) DOJ-BP-0004572579
10) DOJ-BP-0004572581
11) D0J-BP-0004572587
12) D0J-BP-0004572588
13) D0J-BP-0004572601
14) DOJ-BP-0004572620
15) D0J-BP-0004572639
16) D0J-BP-0004572652
17) D0J-BP-0004572655
18) D0J-BP-0004572660
19) D0J-BP-0004572663
20) D0J-BP-0004572672
21) D0J-BP-0004572678
22) D0J-BP-0004572681
23) DOJ-BP-0004572687
24) D0J-BP-0004572690
25) D0J-BP-0004572696
26) D0J-BP-0004572699
27) DOJ-BP-0004572704
28) D0J-BP-0004572709
29) D0J-BP-0004573464
30) D0J-BP-0004573529
31) D0J-BP-0004573657
32) D0J-BP-0004573681
33) D0J-BP-0004573703
34) D0J-BP-0004573917
35) D0J-BP-0004574192
36) DOJ-BP-0004574258
37) D0J-BP-0004574372
38) D0J-BP-0004574436
39) D0J-BP-0004574654
Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 5 of 11




                    EXHIBIT C
         Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 6 of 11

                                                      U.S. Department of Justice




                                                      United States Attorney
                                                      District of Arizona
                                                    Two Renaissance Square               Main: (602) 514-7500
                                                    40N. Central Ave., Suite 1800     Main Fax: (602) 514-7693
                                                    Phoenix, AZ 85004-4408

                                                    January 31, 2019

Paul J. Cambria Jr.              Jim Grant                                   Robert Corn-Revere
Attorney at Law                  Davis Wright Tremaine LLP                   Davis Wright Tremaine LLP
Lipsitz Green Scime Cambria      1201 Third Avenue, Suite 2200,              1919 Pennsylvania Avenue NW,
42 Delaware Ave! Suite 120       Seattle, WA 98101                           Suite 800
Buffalo, NY 14202                (attorney for Lacey and Larkin)             Washington, DC 20006
(attorney for Michael Lacey)                                                 (attorney for Lacey and Larkin)

Thomas H. Bienart, Jr., Esq.  Michael D. Kimerer, Esq.                      Bruce Feder, Esq.
Beinart, Miller & Katzman,    1313 E. Osborn Road                           2930 East Camelback Road, Suite
PLC                           Phoenix, AZ 85014                             160
903 Calle Amanecer, Suite 350 (attorney for Jed Brunst)                     Phoenix, Arizona 85016
San Clemente, CA 92673                                                      (attorney for Scott Spear)
(attorney for James Larkin)


Gary Lincenberg,Esq.             Mike Piccarreta, Esq.                      Steve Weiss
Ariel A. Neuman, Esq.            Piccarreta Davis Keenan Fidel PC           Attorney at Law
Bird, Marella, Boxer, Wolpert,   2 East Congress Street, Suite 1000         Karp & Weiss, P.C.
Nessim, Drooks, Lincenberg &     Tucson, AZ 85701                           3060 North Swan Rd.
Rhow, P.C.                       (attorney for Andrew Padilla)              Tucson, Arizona 85712
1875 Century Park East, 23rd                                                (attorney for Joye Vaught)
Floor
Los Angeles, California
90067-2561
(attorney for Jed Brunst)

         Re:      U.S. v. Michael Lacey, et.al.
                  CR-18-00422-PHX-SPL (BSB)

  Dear Counsel:

         As you know the Court has issued an Order granting the Government's Motion to Compel
  Destruction of Inadvertently Disclosed Documents. (Doc. 396) Through this letter, we ask you to
  confirm that you have destroyed the documents consistent with the Court order. For reference
  please see the spreadsheet attached to the email that details the documents that the Court has
        Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 7 of 11

February 18, 2019
Page 2

ordered destroyed. To supply the requested verification, please insert the name of your client and
sign below and return this letter to me by email with your signature:



                                                    COUNSEL FOR



                                                          BRIAN BENCZKOWSKI
                                                          Assistant Attorney General
                                                          Criminal Division
                                                          U.S. Department of Justice
                                                          REGINALD E. JONES
                                                          Senior Trial Attorney, CEOS
                                                          (202) 616-2807
                                                          re gi nal d one s4 • ,usdoj .gov

                                                          ELIZABETH A. STRANGE
                                                          First Assistant U.S. Attorney


                                                          s/ Kevin M. Rapp
                                                          KEVIN M. RAPP
                                                          MARGARET PERLMETER
                                                          PETER S. KOZINETS
                                                          ANDREW STONE
                                                          Assistant United States Attorneys
                                                          JOHN J. KUCERA
                                                          Special Assistant U.S. Attorney
Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 8 of 11




                    EXHIBIT D
         Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 9 of 11



From:                    Bruce Feder
To:                      Paul Cambria; Michael Piccarreta
Cc:                      Raga, Kevin (USAAZ); Tom Bienert; Grant, James; Gary S. Lincenberq; Ariel A. Neuman; Michael Kimerer; Feder
                         Law; sweisskarpweiss.com; Erin McCampbell Paris; Jones, Reginald CCRM); Perimeter, Maraaret (USAAZ);
                         Kozinets, Peter (USAAZ); Stone, Andrew (USAAZ); Barbara Polowetz; Whitney Bernstein
Subject:                 Re: Doc. 449
Date:                    Thursday, February 7, 2019 9:02:56 PM
Attachments:             emailsianature d62b426c-103f-4958-9e29-50e8f1ce530e111.onq



I join in Mr Piccarreta's email response below. I also believe the documents identified in
DOC# 449 demonstrate that the government's Brady/Giglio/Bagley obligations have not been
complied with, and request the immediate disclosure of all facts, statements, interview
reports, notes, memos, recordings and other written and electronic information underlying
the documents identified or otherwise discussed in DOC #449.


Bruce Feder
2930 East Camelback Road, Suite 160
Phoenix, Arizona 85016
(602) 257-0135
bf@federlawpa.com

Confidentiality Notice
This email or fax, including attachments, is covered by the Electronic Communications Privacy Act, 18 U.S.C. 1510 et seq. The information
contained in this electronic mail or fax transmission, including any accompanying attachment, is intended solely for its authorized
recipient, and may be confidential and/or legally privileged. If you are not an intended recipient, or responsible for delivering some or all
of this transmission to an intended recipient, you have received this transmission in error and are hereby notified that you are strictly
prohibited from reading, copying, printing, distributing, or disclosing any of the information contained in it. In that event, please contact
me immediately by telephone at (602) 257-0135 or by electronic email at bf@federlawpa.com and delete the original and all copies of
this transmission, including any attachments, without reading or saving them in any manner.




From: Paul Cambria <pcambria@Iglaw.com>
Sent: Thursday, February 7, 2019 1:38 PM
To: Michael Piccarreta
Cc: Rapp, Kevin (USAAZ); Tom Bienert; Grant, James; Gary S. Lincenberg; Ariel A. Neuman; Michael
Kimerer; Feder Law; Bruce Feder; sweiss@karpweiss.com; Erin McCampbell Paris; Jones, Reginald
(CRM); Perimeter, Margaret (USAAZ); Kozinets, Peter (USAAZ); Stone, Andrew (USAAZ); Barbara
Polowetz
Subject: Re: Doc. 449


I agree with mike


Sent from my iPhone
       Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 10 of 11



         Lipsitz Green
         Scime Cambria_
         Paul J. Cambria Jr.
         Attorney at Law


         42 Delaware Ave I Suite 120 I Buffalo, NY 14202
         TEL 716 849 1333 x344 I FAX 716 855 1580
         email I profile I website I map I vCard




NOTICE: This message contains privileged and confidential information intended only for the use of the persons named
above. If you are not the intended recipient, you are hereby notified that any distribution or copying of this message is
prohibited.




On Feb 7, 2019, at 3:09 PM, Michael Piccarreta <mIpPpd-law.com> wrote:



       We comply as does the Government with all Court orders. I believe this order is
       an error which is why I wanted to make sure the documents are preserved by the
       Government and are part of the record for later review. mlp

       Michael L. Piccarreta, Esq.
       Piccarreta Davis Keenan Fidel PC 12 East Congress Street, Suite 1000, Tucson, AZ 85701
       t520.622.6900, ext. 133 1 f 520-622-0521 I www.pd-law.com



       From: Rapp, Kevin (USAAZ) <Kevin.RappPusdoj.gov>
       Sent: Thursday, January 31, 2019 4:03 PM
       To: Paul Cambria <pcambriaPlglaw.com>; Tom Bienert
       <tbienertPbmkattorneys.com›; Grant, James <jimgrantPdwt.com>; Gary S.
       Lincenberg <glincenbergPbirdmarella.com>; Ariel A. Neuman
       <aneumanPbirdmarella.com›; Michael Kimerer <mdkPkimerer.com>; Feder Law
       <flPfederlawpa.com>; Bruce Feder <bfPfederlawpa.com>; Michael Piccarreta
       <mIpPpd-law.com>; sweissPkarpweiss.com
       Cc: Jones, Reginald (CRM) <Reginald.Jones4Pusdoj.gov›; Perimeter, Margaret
       (USAAZ) <Margaret.Perlmeter@usdoj.gov>; Kozinets, Peter (USAAZ)
       <Peter.KozinetsPusdoj.gov>; Stone, Andrew (USAAZ)
       <Andrew.StonePusdoj.gov>
       Subject: Doc. 449



       Counsel:


       As you the know the Court has granted the Government's Motion to Destroy
Case 2:18-cr-00422-DJH Document 466-1 Filed 02/20/19 Page 11 of 11



Inadvertently Disclosed Material. (See Doc. 449 attached) The Order requires that
the subject documents should be destroyed within five days of the Order (we just
received it today in the mail as it was sealed). Attached is a list identifying the 39
documents that must be destroyed. Lastly, we have attached a letter that
confirms that you have complied with the Order. We would like to file a notice
advising the Court of compliance. If you have any questions please do not
 hesitate to contact me.


All the best,


Kevin M. Rapp' Assistant U.S. Attorney
Senior Litigation Counsel
Financial Crimes and Public Integrity Section
U.S. Department of Justice I Office of the United States Attorney
40 N. Central Ave., Ste. 1800, Phoenix, AZ 85004
602.514.7609, kevin.rapp@usdoj.gov
